          Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 1 of 14


                                                                                       FILED
                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                                                                                         MAY 3 0 2019
                               BUTTE DIVISION                                         Cieri(, u.s Diatrict Court
                                                                                        District Of Montana
                                                                                              Missoula




    UNITED STATES OF AMERICA,
                                                           CR 19-06-BU- DLC
                          Plaintiff,

          vs.                                               ORDER

    VICTOR MANUEL ORTEGA-
    YESCAS, and CARMELO ENRIQUE
    RUIZ-MORALES,

                          Defendant.

       Before the Court is Defendant Victor Manuel Ortega-Yescas' s Motion to

Suppress. (Doc. 47.) The Court held a hearing on the motion on April 23, 2019,

and the parties filed supplemental briefs on May 3, 2019. The Court denies the

motion.

                                        BACKGROUND

       Ortega-Yescas was living in Gallatin Gateway, Montana, when the Missouri

River Drug Task Force (the "Task Force") 1 identified him as a person of interest in

a methamphetamine distribution scheme. (Doc. 48-1 at 3.) Investigators believed



1
 The Task Force comprises state and federal law enforcement agents, who work to combat drug
activity in seven counties within Montana. The majority of the officers on the Task Force work
for state and local agencies, and the cases they work on are prosecuted in both state and federal
court.

                                               -1-
        Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 2 of 14



Ortega-Y escas was supplying methamphetamine to his codefendant, Carmelo

Enrique Ruiz-Morales, who was in turn distributing the drug more widely. (Id. at

4.) Members of the Task Force applied for and received two search warrants for

records associated with Ortega-Yescas's cell phone number. (Id. at 4-5.) From

the records received, the investigators noted that Ortega-Y escas takes quick trips to

Lynwood, California, driving 15 hours each way but spending only a few hours in

California. (Id.)

      Hoping to catch Ortega-Yescas after making a methamphetamine run to

California, the investigators next applied for a CSLI (cell-site location information)

or "ping" warrant-a search warrant to track the location of Ortega-Y escas' s cell

phone in real time-on December 27, 2018. A member of the task force brought

the affidavit to a state district court judge, Judge John Brown, who found probable

cause to issue the warrant, which was in effect for 14 days. (Doc. 48-2.) The Task

Force monitored the location ofOrtega-Yescas's phone during that time, but it did

not appear that he took any trips out of state.

      A couple of weeks later, investigators discovered th~t they were no longer

getting updates as to Ortega-Y escas' s phone location information because the ping

warrant had expired. A member of the Task Force, FBI Special Agent Colin

Cialella, realized then that he had accidentally requested 60 days of cell phone

location monitoring within the application but 14 days within the body of the


                                          -2-
        Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 3 of 14



warrant itself, which he had drafted. (Doc. 63 at 23.) Cialella called Judge Brown,

and he asked for suggestions on how to correct his error and resubmit. (Id. at 25.)

Judge Brown told Cialella to submit a supplemental application; because he was

familiar with the case, the judge said that he did not need to again see the entire

probable cause statement used to support the first application. (Id.) Cialella

prepared a supplemental application per Judge Brown's instructions, explaining

that an error had been made in the first application and requesting an extension of

46 days, to bring the total number of monitoring days to 60. (Id. at 26.) Cialella

brought the supplemental application to Judge Brown, who signed the amended

warrant in front of Cialella. (Id. at 28.)

      On February 8, 2019 at 3:30 p.m., the Task Force received ping alerts

revealing that Ortega-Y escas' s phone was moving south. Continued monitoring

showed Ortega-Yescas in Lynwood, California in the early morning hours of

February 9. The Task Force contacted a Los Angeles police force, which verified

that Ortega-Yescas was at the location of the Lynwood ping alert, driving a vehicle

registered to Ortega-Yescas in Montana. When Ortega-Y escas returned to

Montana, Task Force investigators, with the assistance of other state and local law

enforcement officers, pulled him over. Officers applied for and received a search

warrant to search the vehicle, where they ultimately found approximately five

pounds of methamphetamine.


                                             -3-
         Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 4 of 14



                                      ANALYSIS

        Ortega-Y escas argues that the evidence found during the search of his

vehicle must be excluded on two grounds. First, he claims that the ping warrant

was invalid because Judge Brown lacked jurisdiction to issue the initial and

supplemental warrants. Second, he contends that probable cause did not support

the supplemental warrant when Cialella merely referenced, without restating, the

information included in the initial application. In Ortega-Yescas's view, either

deficiency necessary leads to suppression of the evidence gleaned from the

physical search of his vehicle.

        The Court disagrees. First, Judge Brown did not lack jurisdiction to issue

the ping warrant because he was authorized to do so under Montana law, Mont.

Code Ann.§§ 46-5-110 & 46-5-220, and the Task Force reasonably expected

Ortega-Yescas would be prosecuted in state court. Second, the supplemental

affidavit used to support the operative warrant incorporated the facts used to

support the first warrant. Thus, probable cause supported the search warrant.

However, even if the Court agreed with Ortega-Yescas's views of the

constitutionality of the search under either theory, it would nonetheless deny the

motion because suppression would neither prevent future police misconduct nor

provide for just punishment for police behavior that was negligent at worst.

   I.     Jurisdiction


                                         -4-
        Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 5 of 14



       Ortega-Yescas argues that Judge Brown lacked jurisdiction to issue a ping

warrant monitoring the location of his cell phone across state lines. Ortega-Yescas

contends that the search was "federal in character" and that Rule 41 therefore

applies. United States v. Martinez-Garcia, 397 F.3d 1205, 1213 (9th Cir. 2005).

Although the Court agrees that the jurisdictional requirements of Rule 41 are not

met, and that the state court-issued ping warrant therefore would not survive

scrutiny under the Federal Rules of Criminal Procedure, it disagrees that Rule 41

applies in the first instance.

      The issue here-whether the search of Ortega-Yescas' s cell phone location

information was federal in character such that Rule 41 applies-is simpler than

Ortega-Yescas makes it out to be. "Rule 41 applies to a search conducted by state

officers pursuant to a state warrant only if the search is ' federal in character."'

Martinez-Garcia, 397 F.3d at 1213. "Generally, a search is federal if from the

beginning it was assumed a federal prosecution would result." United States v.

Palmer, 3 F.3d 300, 303 (9th Cir. 1993). The issue is one of fact. Id.

      Ortega-Yescas argues that the search was federal because the goal of the

search warrant was to discover when Ortega-Y escas was traveling out of state,

claiming "[i]t is difficult if not impossible to contemplate any constitutional role

for a state court judge in this factual scenario." (Doc. 64 at 10.) The Court

disagrees.


                                          -5-
        Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 6 of 14



      At the time that the ping warrant was issued, officers had probable cause to

believe that Ortega-Yescas was transporting drugs into Montana, but they did not

know whether charges, if brought, would be prosecuted in federal rather than state

court. Crimes prosecuted in state court may well involve interstate travel--of

course, Montana law prohibits possessing and distributing controlled substances

that often come into the state from elsewhere. See Mont. Code Ann.§§ 45-9-101,

45-9-102, & 45-9-103. Although Cialella, the only federal agent on the Task

Force, was heavily involved in the warrant application process, his involvement

was driven by practical circumstances rather than the likelihood of federal

prosecution-he was the unlucky member of the Task Force assigned to staff the

office over the holidays. His work on the case before the search was "mere

participation," and it does not render the search federal in character. Palmer, 3

F.3d at 303 (quoting Byars v. United States, 273 U.S. 28, 32 (1927)).

      City of Bozeman Police Officer Scott Vongehr, another member of the Task

Force who worked on the case extensively before taking the holidays off, testified

that he expected the case to land in state court because the Task Force "never

know[s] where it's going to go." (Doc. 63 at 8.) Cialella explained further,

      everything we consider a state case until it goes federal. ... ["Going
      federal"] would be a discussion with an AUSA, with everyone in the
      task force. And then I usually-it would be like submitting
      [documentation that] gets sent out to everyone in the AUSA's office
      and then it gets approved to where it gets assigned to a U.S. Attorney
      and at that point I guess a case is opened on their end.. . . [Even then,]
                                         -6-
        Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 7 of 14



       at some point this case may not make the federal threshold and may
       still go state.

(Doc. 63 at 30.) The officers testified that the offense conduct would have been

prosecuted in state court had a substantially smaller quantity of methamphetamine

been involved. And, although it may seem unlikely that a defendant would travel

15 hours to get a small amount of methamphetamine, the Task Force had "seen

where people have gone that quick of a trip out of state to different places and

come back with a very small amount. So [investigators] never know what to

expect." (Id. at 39.)

      The Court finds that the search of Ortega-Yescas 's cell phone location

information was not "federal in character." Knowing what we know now-that

five pounds of meth would be seized when Ortega-Yescas returned to Montana-it

makes pragmatic sense that this case is now in federal court. But the members of

the Task Force making the decision were reasonably unaware that Ortega-Yescas

would ultimately be prosecuted under federal law. Indeed, if the U.S. Attorney's

Office had passed on this case, Ortega-Yescas would almost certainly be

prosecuted in state court using the same evidence.

      Nonetheless, Ortega-Yescas contends that the search is necessarily federal

under United States v. Henderson, 906 F .3d 1109 (9th Cir. 2018), and Carpenter v.

United States, 138 S. Ct. 2206 (2018). In Henderson, the Ninth Circuit addressed

the constitutionality of a warrant issued by a federal magistrate without jurisdiction
                                         -7-
        Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 8 of 14



under Rule 41. Id. at 1117. Ortega-Yescas argues that Henderson "supports the

contention that Rule 41 sets the contours of the real-time CSLI terrain" and that the

warrant here did not comply with Rule 41, which only provides authority for

federal magistrates to issue warrants for persons or property outside the district of

issuance. (Doc. 64 at 5.) However, while it is true that the Court interpreted Rule

41 in Henderson, which involved using digital intelligence to locate unlawful

activity, Henderson is wholly indifferent to the question of when Rule 41 is

implicated in the first instance.

      Ortega-Yescas similarly relies overmuch on Carpenter. It is true that, as

Ortega-Yescas states, the Court in Carpenter held that the Fourth Amendment

protects individuals' privacy interests in cell phone location data. 138 S. Ct. at

2217. But the Fourth Amendment applies to all searches, and a federal magistrate

is not needed to issue all search warrants despite the federal constitutional rights

implicated. Rather, the issue discussed in Carpenter is the necessity of obtaining a

warrant supported by probable cause in order to monitor historical cell phone

location information, not the authority of a state court judge to make that probable

cause determination.

      The Fourth Amendment does not delineate between the authority of federal

and state court judges to issue warrants. See Stone v. Powell, 428 U.S. 465, 493

n.35 (1976) (rejecting the "argument ... that state courts cannot be trusted to


                                         -8-
         Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 9 of 14



effectuate Fourth Amendment values through fair application of the rule"); see also

United States v. Artis, 919 F.3d 1123, 1130 (9th Cir. 2019) ("Even if ... a

violation [of California law] occurred [when federal agents executed a state search

warrant], the warrants would still be valid under the Fourth Amendment."). True,

the Ninth Circuit has held that "a warrant purportedly authorizing a search beyond

the jurisdiction of the issuing magistrate judge is void under the Fourth

Amendment." Henderson, 906 F.3d at 1117. Here, though, Ortega-Yescas's

argument that the search warrant is void for lack of jurisdiction is premised in Rule

41, and Rule 41 does not apply.

       In the alternative, even if the search had been federal in nature, Rule 41

would still not apply because the rule, by its own terms, "does not modify any

statute regulating search or seizure, or the issuance and execution of a search

warrant in special circumstances." Fed R. Crim. P. 41(a)(l). The Stored

Communications Act, 18 U.S.C. §§ 2701-2713, outlines the jurisdictional

requirements for ping warrants.2 See United States v. Bundy, 195 F. Supp. 3d


2
  Ortega-Yescas makes much of the fact that the warrants cited to§ 2703(d), which does not set
forth the requirement for warrants but rather court orders. In Carpenter, the Stored
Communications Act was considered and found to be inconsistent with the Fourth Amendment
to the degree that it sets forth a lesser standard than probable cause for court orders compelling
disclosure of cell phone location information. 138 S. Ct. at 2223. Here, the warrant was clearly
that- a warrant, supported by probable cause. While the Task Force may have erred in citing to
subsection (d) in the body of the warrant, the state court issued a warrant- not merely a
§ 2703(d) order- and there is no dispute here that probable cause existed for its issuance. In any
event, even if the warrant was constitutionally infirm under Carpenter, suppression would not be
the remedy. See infra p.10--12; see also United States v. Wright, 339 F. Supp. 3d 1057, 1060---62
                                               -9-
        Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 10 of 14



1170, 1173 (D. Or. 2016) ("The territorial limitation in Rule 41 ... does not limit

warrants issued pursuant to§ 2703."). Under the Act, Rule 41 sets forth the

"procedures" applied to the issuance of warrants, but the Act also authorizes the

issuance of warrants for cell phone location information by "a court of competent

jurisdiction," defined throughout the operative provision to include "a State court,

issued using State warrant procedures." 18 U.S.C. § 2703(c )(A). It follows that,

as the First Circuit recently held, § 2703 's "own geographic, jurisdictional

limitation" overrides the jurisdictional limits set forth in Rule 41. United States v.

Ackies, 918 F.3d 190,202 (1st Cir. 2019).

       Finally, even if the Court had agreed with Ortega-Yescas' s jurisdictional

argument, exclusion would not be warranted. The good-faith exception to the

exclusionary rule applies to violations of Rule 41 if "a reasonably well trained

officer would [not] have known that the search was illegal in light of all the

circumstances." Henderson, 906 F.3d at 1118 (quoting Herring v. United States,

555 U.S. 135, 145 (2009)); see also United States v. Elmore, 917 F.3d 1068, 1077

(9th Cir. 2019) (listing the narrow circumstances in which an officer would know

of a search's illegality).




(D. Nev. 2018) (applying good faith exception to exclusionary rule for orders clearly barred
under Carpenter).
                                             -10-
       Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 11 of 14



       "The exclusionary rule was crafted to curb police rather than judicial

misconduct." Herring, 555 U.S. at 145. Whether a violation of Rule 41 is

"fundamental" or merely "technical," "[a]pplication of the good faith exception

does not depend on the existence of a warrant, but on the executing officers'

objectively reasonable belief that there was a valid warrant." Henderson, 906 F.3d

at 1118. The Ninth Circuit has unequivocally held that the good faith exception

applies "where a warrant is void because of a magistrate judge's jurisdictional

violation, so long as the executing officers had an objectively reasonable belief that

the warrant was valid." Id. at 1119.

      In this instance, even if Judge Brown had exceeded the limits of his

authority, the Task Force was objectively reasonable in its belief that ping

monitoring was not illegal under the circumstances. Herring, 555 U.S. at 145.

Ortega-Yescas does not attempt to argue that the investigators acted in "bad faith."

Henderson, 906 F .3d at 1119. Nor does he contend that Rule 41 (b) could not,

consistent with the Constitution, be amended to grant authority to state courts

commensurate to that afforded to federal magistrates. The court "see[s] no reason

to deter officers from reasonably relying on a type of warrant that could have been

valid at the time it was executed ... ." Id. at 1119-20.

      The Court will not hold that, as a rule, state court.judges cannot issue ping

warrants when the underlying charges involve drug activity over interstate lines.


                                        -11-
         Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 12 of 14



And this case does not involve special circumstances such that the Court could find

for Ortega-Yescas and avoid crafting such a rule. In any event, the exclusionary

rule would not apply if Judge Brown lacked jurisdiction to issue the warrant. The

motion to suppress is denied as to Ortega-Yescas' s jurisdictional argument.

   II.      Sufficiency of Supplemental Affidavit

         Ortega-Y escas alternatively argues that, even if the initial ping warrant was

valid, the warrant in place at the time of the Lynwood trip was not because it was

not supported by probable cause. The Court disagrees.

         A warrant may issue only "upon probable cause, supported by Oath or

affirmation, and particularly describing the place to be searched, and the persons or

things to be seized." U.S. Const. amend. IV. A warrant is constitutionally infirm

unless: (1) it is issued by a neutral and detached magistrate; (2) it is supported by

probable cause; and (3) it describes its object with sufficient particularity. Dalia v.

United States, 441 U.S. 238,255 (1979). Ortega-Yescas argues that probable

cause did not support the supplemental warrant when the application referred to

but did not recite the probable cause statement in the initial application and

warrant.

         While it is true that the supplemental application did not include those facts

supporting probable cause, it expressly incorporated the facts included in the initial

warrant- and, again, Ortega-Yescas does not, and could not reasonably, argue that


                                          -12-
       Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 13 of 14



the first warrant application does not meet the constitutional requirement of

probable cause. In his supplemental application, Cialella referred to the initial

warrant, explained his technical error in failing to update the body of the search

warrant to extend for 60 days, and certified that the supplemental application was

intended to extend the monitoring period for another 46 days, bringing the total

number to 60 days. (Doc. 49-2.) Ortega-Yescas has not brought any authority to

the Court's attention suggesting that a warrant is invalid because it incorporates by

reference the probable cause certification included in an earlier warrant authorizing

the search of the same property.

      Regardless of the amended warrant's validity, however, the Court must deny

the motion to suppress. Suppression is not warranted where, as here, the police

officer relied on the issuing judge's legal determination. Suppression is

appropriate only where "police conduct [is] sufficiently deliberate that exclusion

can meaningfully deter it, and sufficiently culpable that such deterrence is worth

the price paid by the justice system." Herring, 555 U.S. at 144. "[I]solated

negligence" is not enough. Id.

      To the degree that error occurred, the error is mere "isolated negligence."

Agent Cialella mistakenly forgot to replace one instance of the number "14" with

the number "60." At the hearing, Cialella testified that the Task Force

"[u]sually ... do[es] pings for a lot longer than 14 days. 60 days is---45 to 60


                                        -13-
       Case 2:19-cr-00006-DLC Document 67 Filed 05/30/19 Page 14 of 14



days,just depending on what we think we're going to get out ofit and how long

we think we need." (Doc. 63 at 23.) When he realized his mistake, he asked the

judge what to do. He relied on that judge's assurance that he need not recertify the

facts supporting probable cause. Instead, Cialella simply explained the error and

attempted to correct it. Under these innocent circumstances, suppression would

neither deter future errors nor further the interests of justice. Herring, 555 U.S. at

144.

       Accordingly, IT IS ORDERED that the motion (Doc. 47) is DENIED.

       DATED this ~C>-k, day of May, 2019.




                                               Dana L. Christensen, Chief Ju ge
                                               United States District Court




                                        -14-
